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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
           PLAINTIFFS’ MOTION TO EXTEND DISCOVERY DEADLINES

       Plaintiffs in United States v. Google LLC (“Plaintiffs”) respectfully submit this

memorandum in support of their motion pursuant to Federal Rule of Civil Procedure 16(b)(4) to

modify the deadline for the close of fact discovery and certain related deadlines in the Court’s

February 3, 2021 Amended Scheduling and Case Management Order (the “Scheduling Order”).

ECF No. 108-1. Defendant Google LLC (“Google”) opposes this motion.




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  I.     INTRODUCTION

      The Court should extend fact discovery to June 22, 2022, while leaving unchanged the post-

discovery deadlines, including the scheduled trial date. Currently, the Court’s Scheduling Order

provides that the parties will complete fact discovery by March 22, 2021, but good cause exists

for extending that deadline. First, Plaintiffs have diligently sought to complete discovery within

the contours of the Scheduling Order. Second, Plaintiffs could not have anticipated the

cumulative effect of the production delays encountered during this case. Third, extending fact

discovery would permit Plaintiffs to review and receive additional relevant documents and

conduct more effective depositions. Fourth, absent the extension, Plaintiffs would not be able to

efficiently and effectively complete the remaining depositions. Finally, because the scheduled

trial date is nearly two years away and is not affected by Plaintiffs’ request, Google will not be

prejudiced by an extension in fact discovery. Accordingly, the Court should conclude that good

cause exists to grant Plaintiffs’ requested extension.

II.      LEGAL ARGUMENT

             A. Good Cause Exists To Extend Discovery

         The Court should find that good cause exists for the requested extension to allow the

Plaintiffs to prepare for and complete their allotted depositions in an orderly, efficient manner.

“The Court may modify the scheduling order at any time upon showing of good cause.” LCvR

16.4(a); see also Fed. R. Civ. P. 16(b)(4). In determining whether good cause exists to extend

discovery deadlines, “the Court primarily considers the diligence of the party seeking discovery

before the deadline.” Barnes v. District of Columbia, 289 F.R.D. 1, 7 (D.D.C. 2012) (collecting

cases). The Court also considers (a) the foreseeability of the need for additional discovery given

the time allotted by the court, (b) the likelihood that the discovery sought will lead to relevant



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evidence, (c) whether trial is imminent, (d) whether the non-moving party consents, and (e)

whether the non-moving party would be prejudiced. See Childers v. Slater, 197 F.R.D. 185, 188

(D.D.C. 2000). The balance of those six factors weighs firmly in favor of granting Plaintiffs’

requested extension.

                       i. Plaintiffs Have Diligently Pursued Discovery

           Plaintiffs have diligently sought to complete discovery within the deadlines set by the

Court in the Scheduling Order, and to date, have issued seven requests for production (“RFPs”)

to Google and over 100 Rule 45 document subpoenas to third parties; taken 18 depositions and

noticed 18 more; 1 reviewed millions of documents; and examined thousands of privilege log

entries.

                              1. Documents and Data Requests

           Plaintiffs expeditiously sought documents and data from Google and third parties in order

to meet the deadlines set in the Court’s Scheduling Order. In early January, shortly after fact

discovery began, Plaintiffs served Google with Plaintiffs’ core document and data requests,

covering a broad range of information necessary for proving Plaintiffs’ claims. Between June 21

and September 30, 2021, Plaintiffs issued five additional, targeted requests for documents and

data. In each instance, Plaintiffs immediately engaged with Google to address its responses and

objections (“R&Os”). For some periods, Plaintiffs met and conferred with Google on an almost

weekly basis to reach agreements on the breadth of the requests and the custodians, terms, and

periods Google would use to identify responsive documents. For example:

              •   Plaintiffs issued their first request for production (“RFP 1”) on January 5. They
                  received Google’s R&Os on February 4, and on February 8—four days later—
                  requested a meet-and-confer to discuss Google’s objections.

1
 The number of depositions noticed by Plaintiffs includes depositions noticed by plaintiffs in
Colorado v. Google LLC, 1:20-cv-03715-APM.
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           •   Plaintiffs issued their second request for production (“RFP 2”) on January 10.
               They received Google’s R&Os on February 10, and on February 12—two days
               later—requested a meet-and-confer to discuss Google’s objections.

           •   Plaintiffs issued their third request for production (“RFP 3”) on June 21, 2021.
               They received Google’s R&Os on July 21 and on July 22—the next day—
               requested a meet-and-confer to discuss Google’s objections.

       During these meet-and-confers, Plaintiffs pursued various strategies to ensure the

efficient production of documents, including (1) the frontloading of documents Google had

agreed to produce, and (2) the production of documents by custodians. Google refused. See e.g.,

April 30, 2021 Status Conference Tr., ECF No. 133, at 12-17. Google’s approach ensured that a

full set of documents for any custodian was not available until the entire production was

completed; this delayed the initial depositions.

       Similarly, Plaintiffs have sought discovery to date from over 100 third parties, including

Google’s largest distribution partners and key search competitors. Many of these subpoenas were

issued just weeks after commencement of fact discovery. For instance:

           •   On or before February 1, 2021, Plaintiffs subpoenaed 10 of Google’s largest
               search distribution partners in the U.S., including manufacturers (Apple,
               Samsung, LG, and Motorola), and carriers (Verizon, T-Mobile, and AT&T).
               These partners collectively represent over 98 percent of the recent revenue share
               payments that Google made to third parties to distribute search in the U.S.

           •   On or before February 1, 2021, Plaintiffs subpoenaed Google’s largest search
               rivals, i.e., Microsoft and Yahoo.

           •   On or before February 1, 2021, Plaintiffs subpoenaed third parties Google has
               claimed as competitors, including Amazon and Yelp.

       As they did with Google, Plaintiffs engaged in extensive meet-and-confers with third-

party subpoena recipients. To take one example, between February 1 and August 17, 2021,

Plaintiffs engaged in approximately 25 meet-and-confers with Apple and sent the company more

than 20 letters. In three of those letters, Plaintiffs provided 45 pages of explanations for subpoena

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requests and justifications for search string proposals. Moreover, when necessary, the Plaintiffs

have asked the Court for assistance in speeding Google and third-party document productions.

                          2. Depositions

       Plaintiffs have sought to depose potential Google and third-party trial witnesses as

quickly as the document productions and witnesses’ schedules would permit. Google completed

the bulk of its document production in August 2021, and Plaintiffs began deposing Google’s

witnesses in September 2021. As of November 23, 2021, Plaintiffs have completed 18

depositions of current or former Google employees and one third party. Plaintiffs have noticed

an additional 18 depositions, scheduled for December and January. Plaintiffs have also taken

Rule 30(b)(6) testimony from three Google representatives and, on November 1, 2021, issued a

notice containing additional Rule 30(b)(6) topics.

                          3. Privilege Disputes

       Plaintiffs successfully pursued production of tens of thousands of documents that Google

inappropriately withheld or redacted, including (a) communications with third parties that were

clearly non-privileged, and (b) non-legal communications, including instances in which an

attorney was just carbon-copied or was not a recipient of the communication at all.

       After Google provided its initial privilege log, Plaintiffs reviewed Google’s privilege

claims (hundreds of thousands) and, in a letter on June 4, 2021, identified concerns regarding

overbroad designations. During the next three months, Plaintiffs sent five additional letters and

engaged with Google on three meet-and-confers to address our concerns. In September—three

months after Plaintiffs’ initial letter—Google began reproducing nearly 40,000 deprivileged

documents. Many of these originally-withheld documents touch on issues central to Plaintiffs’




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allegations, including documents relating to Google’s search distribution deals. Plaintiffs expect

that future reproductions will likely yield similarly relevant material.

        The challenges to Google’s faulty privilege claims are ongoing, as Google’s most recent

privilege logs contain the same overbroad privilege designations and errors. After reviewing

Google’s privilege reproductions and the newly produced privilege logs, Plaintiffs sent Google a

letter on November 15 with concerns about tens of thousands additional, problematic privilege

log entries and privilege designations. Google has agreed to start reviewing a subset of the

challenged documents.

        Google’s overbroad privilege claims, which delayed production of relevant, non-

privileged materials, have undermined Plaintiffs’ document review efforts and deposition

preparation, and Google’s persistence in improperly asserting privilege continues to delay and

further prejudice Plaintiffs.

        Because Plaintiffs have tirelessly pursued discovery in this case, the Court should

conclude that good cause exists for the requested extension.

                   ii. Plaintiffs Could Not Have Foreseen the Additional Time
                       Needed to Conduct Discovery at the Time of the Scheduling
                       Conference

        The fifteen months for fact discovery requested in the initial Scheduling Order was, at

best, an educated estimate. See December 18, 2020 Status Conference Tr., ECF No. 88, at 47:22-

48:1 (“[A]ny judge that’s involved in a case like this recognizes that the schedule at the outset

oftentimes . . . is not the schedule that actually comes to fruition[.]”). When the Scheduling

Order was entered, it was impossible to accurately predict how discovery on this scale, during a

pandemic, would unfold. Plaintiffs could not foresee that it would take Google and major third

parties more than half a year to substantially complete document productions responsive to

Plaintiffs’ initial requests served in January.

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       Google contributed to the delay of third-party productions by waiting weeks, and in some

cases months, to issue their subpoenas to the same third parties. Many third parties refused to

collect, much less review and produce documents responsive to Plaintiffs’ subpoenas before

receiving Google’s subpoena and negotiating a discovery plan with both Plaintiffs and Google

simultaneously. These delays continued until this Court entered its order requiring timely service

of cross-subpoenas. See March 30, 2021 Status Conference Tr., ECF No.126, at 64:12-65:2.

       Plaintiffs received approximately 1.8 million documents between February and July

2021, and received approximately 3 million documents between August through the present,

almost half of which (approximately 1.4 million) were received just last month. 2 The cumulative

effect of Google’s and third parties’ delayed production of documents ensured that Plaintiffs

would have to sift through tens of thousands of documents to determine the completeness of

Google’s and third-parties’ document productions in the later part of fact discovery. Plaintiffs,

moreover, have now identified serious, unforeseeable omissions in Google and third-party fact

discovery which, coupled with the outstanding productions, will result in Plaintiffs not having

access to highly relevant information to use during the forthcoming depositions if an extension is

not granted.

       It was not foreseeable that Plaintiffs’ efforts to keep discovery moving forward would

face these and other delays. Accordingly, the Court should conclude that good cause exists to

extend the discovery schedule.




2
 These numbers are approximations that may include document overlays and reproduced
documents.
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                  iii. An Extension Of Fact Discovery Would Likely Lead To The
                       Discovery Of Relevant Evidence and Ensure An Orderly End
                       To Fact Discovery

       An extension of time to receive and review outstanding productions—and then pursue

depositions based on those productions—will lead to relevant evidence concerning central claims

in Plaintiffs’ complaints.

       First, permitting Plaintiffs sufficient time to review these documents and notice the most

knowledgeable witnesses will certainly result in the discovery of relevant evidence. The

extension of time will ensure that all parties have the ability to conduct depositions with

sufficient time to evaluate the testimony before the next set of depositions is noticed, avoiding

duplication. Under the current schedule, this process would prove impossible; for the parties to

take advantage of the remaining depositions allotted to them in the Scheduling Order, the parties

would have to schedule multiple depositions per weekday through the close of discovery.

       Second, the outstanding productions from Google and from third parties are likely to

contain highly relevant information regarding (1) Google’s exclusionary search distribution

agreements, and (2) market definition. 3 For example:

           •   Samsung—the largest manufacturer of Android devices sold in the U.S.—began
               producing documents in earnest only a few days ago. Much of Samsung’s
               document production remains outstanding, although Plaintiffs issued their
               subpoena on January 7.

           •   Document productions from Apple—Google’s largest search distribution
               partner—are missing communications related to Apple’s latest distribution
               agreement with Google.




3
 See e.g., See Compl. ¶ 4 (“Google pays billions of dollars each year to distributors—including
popular-device manufacturers such as Apple, LG, Motorola, and Samsung; major U.S. wireless
carriers such as AT&T, T-Mobile, and Verizon; and browser developers such as Mozilla, Opera,
and UCWeb— to secure default status for its general search engine and, in many cases, to
specifically prohibit Google’s counterparties from dealing with Google’s competitors.”).
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            •   Google has yet to produce documents related to the negotiation, operation, and
                enforcement of some of its operative search distribution agreements.

            •   Document productions from third parties Google has claimed are its competitors
                are still outstanding.

       Although these parties assure Plaintiffs that these productions are forthcoming, Plaintiffs

cannot make the best use of those documents unless fact discovery is extended. Moreover,

should the production dates slip, Plaintiffs’ depositions will necessarily be delayed.

                   iv. Plaintiffs Would Suffer Severe Hardship And Be Prejudiced Without
                       An Extension of Time

       Without an adequate amount of time to receive and review Google’s and third-parties’

productions, Plaintiffs will not be able to access highly relevant documents when planning and

performing the allotted depositions. This will undermine Plaintiffs’ ability to gather important

evidence.

       Under the current schedule, Plaintiffs are caught in a catch-22: either (1) move forward

with noticed depositions despite not having had time to review (or in some cases, receive)

relevant documents, or (2) delay depositions until relevant documents are received and reviewed,

but risk the possibility of not having enough time to complete the planned depositions. Indeed,

the current schedule does not provide enough time for a set of depositions to be completed and

evaluated before the next set is noticed—a necessary process to ensure that the most

knowledgeable witnesses are noticed, duplication is avoided, and gaps in the evidentiary record

are addressed. This concern is particularly salient because Google has, thus far, failed to

adequately prepare its 30(b)(6) witnesses.

       Accordingly, the Court should conclude that the Plaintiffs would be prejudiced without

the requested extension.




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                   v. Because The Trial Date Is Not Imminent and Plaintiffs Do Not
                      Seek to Expand Allotted Discovery Mechanisms, Google
                      Would Not Be Prejudiced by the Proposed Extension

       Trial is not “imminent.” The scheduled trial date is more than twenty-one months away,

during which a twelve-month pause exists between the end of expert discovery and the beginning

of trial. Moreover, dispositive motions from either party are not due for close to a year. For that

reason, although Google opposes this request to extend fact discovery, the prejudice to Google

from the extension would be minimal. Certainly, Google would not need to course-correct its

deposition strategy because, to date, Google has only issued seven subpoenas, leaving 73

remaining depositions allotted to it under the Scheduling Order.

       Moreover, Plaintiffs are not seeking to expand any of the already agreed-upon discovery

tools. For example, Plaintiffs do not seek any more depositions, interrogatories, or requests for

production than those presently allotted to the parties in the Scheduling Order and under the

Federal Rules. The only impact of the proposed extension is to shift the end-date for fact

discovery (and corresponding expert discovery and summary judgment motion deadlines) by

three months.

       In light of Plaintiffs’ good cause showing for the need to extend the discovery schedule

and the lack of prejudice to Google from a three-month extension, the factors, weighed together,

favor granting Plaintiffs’ request for an extension of time.

 II.   CONCLUSION

       For these reasons, Plaintiffs respectfully request that the Court modify the scheduling

order to extend the pretrial deadlines by three months, as reflected in the attached proposed

order. All other dates, including the trial date, would remain unchanged.




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Dated: November 23, 2021            Respectfully submitted,


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